Case 1:18-cr-00372-WYD Document 1 Fi|eo| 08/08/18 USDC Co|orao|o Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

criminal case NO. 18-¢r-00372-WYD

UNITED STATES OF AMERICA,
Plaintiff,

v.

1. MIKE RODOLFG BLEA

Defendant.

 

INFORl\/IATION

CONCEALMENT OF A MATERIAL FACT
18 U.S.C. § 1001

 

The U.S. Attorney charges:
Beginning in or about June 1969, and continuing until in or about l\/Iarch
2016, in the State and District of Colorado and elsewhere, Defendant, Mike Rodolfo
Blea, did knowingly and Willfully falsify, conceal, and cover up by trick, scheme, and
device a material fact in a matter Within the jurisdiction of a department and `
agency in the executive branch of the government of the United States. Specifically, `
Defendant falsified, concealed, and covered up his true visual acuity by falsely
describing What he could and could not see (and how Well he could see it) in
examinations connected to his receipt of disability compensation from the
Department of Veterans Affairs and its predecessor, the Veterans Administration.
All of the foregoing violated 18 U.S.C. § 1001 (1964 & 2012).
DATED this 9th day of August, 2018.

Case 1:18-cr-00372-WYD Document 1 Fi|eo| 08/08/18 USDC Co|orao|o Page 2 of 2

Robert C. Troyer
U.S. Attorney

\Djsr:§ E./Burmw

U. tto ey’s Offi e
1801 Cali rnia St.
Suite 1600
Denver, CO 80202
Telephone: (303) 454-0100
FAX: (303) 454-0400

E-mail: daniel.burrows@usdoj . gov
Special Assistant U.S. Attorney

 
  

Page | 2

